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                     EXHIBIT A
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                                                                           19-cv-01813
                                                                           19-cv-10713

Elizabeth van Merkensteijn                                                 19-cv-01893

Azalea Pension Plan                                                        19-cv-01893

Basalt Ventures LLC Roth 401(K)                                            19-cv-01866
Plan

Bernina Pension Plan                                                       19-cv-01865

Bernina Pension Plan Trust                                                 19-cv-10713

Michelle Investments Pension                                               19-cv-01906
Plan

Omineca Pension Plan                                                       19-cv-01894

Omineca Trust                                                              19-cv-01794
                                                                           19-cv-01798
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Remece Investments LLC Pension                                             19-cv-01911
Plan

Starfish Capital Management LLC                                            19-cv-01871
Roth 401(K) Plan

Tarvos Pension Plan                                                        19-cv-01930

Voojo Productions LLC Roth                                                 19-cv-01873
401(K) Plan

Xiphias LLC Pension Plan                                                   19-cv-01924

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                                   Wilmer Cutler Pickering Hale and Dorr   19-cv-01895
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                                                                           19-cv-01808
                                                                           19-cv-01815

Jocelyn Markowitz                                                          19-cv-01904

Avanix Management LLC Roth                                                 19-cv-01867
401(K) Plan

Batavia Capital Pension Plan                                               19-cv-01895
Calypso Investments Pension Plan                                           19-cv-01904

Cavus Systems LLC Roth 401(K)                                              19-cv-01869
Plan

Hadron Industries LLC Roth                                                 19-cv-01868
401(K) Plan

RJM Capital Pension Plan                                                   19-cv-01898

RJM Capital Pension Plan Trust                                             19-cv-10713

Routt Capital Pension Plan                                                 19-cv-01896

Routt Capital Trust                                                        19-cv-01783
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